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AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

In the Matter of the Search of:

Six devices currently located at 633 W. Wisconsin
Avenue, Suite 803, Milwaukee, Wisconsin, 53203 and
described as (b)1 — (b)6. See Attachment A.

Case No. \Fq -20)\ M (N r)

APPLICATION FOR A SEARCH WARRANT

1, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

Six devices currently located at 633 W. Wisconsin Avenue, Suite 803, Milwaukee, Wisconsin, 53203 and described as (b)1 —
(b)6. See Attachment A.

located in the Eastern District of Wisconsin, there is now concealed:

See Attachment B.

The basis for the search under Fed. R. Crim P. 41(c) is:
i evidence of a crime;
C0 contraband, fruits of crime, or other items illegally possessed;
CL) property designed for use, intended for use, or used in committing a crime;
Ll a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of:
21 U.S.C. §§ 841(a)(1) and 846; and 18 U.S.C. § 1956(h)

The application is based on these facts: See attached affidavit.

(] Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

Appli S signature

Jeffrey Hale. DEA TFO
Printed Name and Title

Sworn to before me and signed in my presence: . | qe
| baad H. |
Date: ‘ a t Sol 2 A 2 fp ;
, Judge\s gfenature”

City and State: Milwaukee Wigedeit!-00801-NJ Filed 02/04/19 Page HAF FosdQR G'S SU, istrate Judge
Printed Name and Title

 

 
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AFFIDAVIT IN SUPPORT OF AN
APPLICATION UNDER RULE 41 FOR A
WARRANT TO SEARCH AND SEIZE

I, Jeffrey Hale, being first duly swom, hereby depose and state as follows:
I. INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application under Rule 41 of the Federal Rules
of Criminal Procedure for a search warrant anthorizing the examination of property — electronic
devices—which are currently in law enforcement possession, and the extraction from that property
of electronically stored information described in Attachment B.

2. I am a state certified law enforcement officer with the Wisconsin Department of
Justice, Division of Criminal Investigation, and have been since October of 1999. Prior to that, I
was a Police Officer with the Milwaukee Police Department. I have worked full-time as a law
enforcement officer for the past 22 years. I am also a federally deputized task force officer with
the United States Dive Enforcement Administration (DEA).

3. As a federal law enforcement officer, I have participated in the investigation of
narcotics-related offenses, resulting in the prosecution and conviction of numerous individuals and
the seizure of illegal drugs, weapons, stolen property, millions of dollars in United States currency
and other evidence of criminal activity. As a narcotics investigator, I have interviewed many
individuals involved in drug trafficking and have obtained information from them regarding
acquisition, sale, importation, manufacture, and distribution of controlled substances. Through my

training and experience, I am familiar with the actions, habits, traits, methods, and terminology
utilized by the traffickers and abusers of controlled substances. I have participated in all aspects of
drug investigations, mcluding physical surveillance, execution of search warrants, undercover

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transactions, court-ordered wiretaps, analysis of phone and financial tly and arrests of
numerous drug traffickers. J have been the affiant on many search warrants. I have also spoken on
numerous occasions with other experienced narcotics investigators, both foreign and domestic,
concerning the methods and practices of drug traffickers and money launderers. Furthermore, I
have attended training courses that specialized in the investigation of narcotics trafficking and
money laundering. Through these investigations, my training and experience, and conversations
with other law enforcement personnel, I have become familiar with the methods used by drug
traffickers to manufacture, smuggle, safeguard, and distribute narcotics, and to collect and launder
trafficking-derived proceeds. I am further aware of the methods employed by major narcotics
organizations to thwart any investigation of their illegal activities.

4, I have participated in many drug trafficking investigations that involved the seizure
of computers, cellular phones, cameras, and other digital storage devices, and the subsequent
analysis of electronic data stored within these computers, cellular phones, cameras, and other
digital storage devices. In many occasions, this electronic data has provided evidence of the crimes
being investigated and corroborated information already known or suspected by law enforcement.

5. This affidavit is intended to show only that there is sufficient probable cause for the
requested warrant and does not set forth all of my knowledge about this matter.

Il. IDENTIFICATION OF THE DEVICES TO BE EXAMINED

6. The property to be searched is described as follows:

(a)l. Apple iPhone Model number A1387.
(a)2. Alcatel Flip Cellular phone.
(a)3. Apple iPhone model A1687.

(a)4. HP Pavilion Laptop.

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(b)1.
(b)2.
(b)3.
(b)4.
(b)5.
(b)6.
(c)1.
(c)2.
(c)3.
(c)4.
(c)5.
(c)6.

(c)7.

Samsung Galaxy S8 Smartphone.

HP laptop with thumb drive inserted into laptop.

Amazon Kindle tablet.

Samsung Galaxy $5 smartphone.

ZTE smartphone.

Dell computer tower.

Black Apple iPhone with black rubber "tech21" case. Unknown model number.
Silver Apple MacBook Pro laptop, Model #: A1211.

Black Dell "Inspiron 15" laptop computer, S/N: GK6P832.

Silver Apple 16GB iPad with gray case, S/N:;DMPJMNDSDKPH.
Black 8GB tablet, unknown make or model.

Silver Apple iPad with cracked front screen, S/N: F9FN8O0XSFCM8.

Silver Samsung 16 GB cellphone, Model #: SM-J327T1, SW:

J327TIUVU1AQK6, IMEI: 354256/09/103958/6.

(c)8.

Silver Samsung 16 GB cellphone, Model #: SM-J327T1, SW:

J327T1UVU1LAQKE6, IMEI: 354256/09/194390/2.

(c)9.

Silver iPhone with cracked screen, Model #: A1533, IMEI: 013983003140300.

(c)10.. Silver iPhone S with cracked screen, Model #: A1688, IC: 579C-E2946A.

(c)11. Black iPod, 8GB, S/N: 9CO20RPV75J.

(c)12. Silver iPod, S/N: CCQNP3J1G22Y.

(d)1.
(d)2.

(e)l.

Samsung Chrome Notebook, black, S/N: 0Q9L91HJ400907Y.
Motorola androidone cellular telephone, silver, S/N: ZY224KQN3F.

Buffalo brand 1.0 TB High-Speed Portable Storage, S/N: 80223244903364.

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(e)2. Silver thumb drive in black leather “FL STUDIO” case, No S/N.
(e)3. Acer Aspire E5-575 Series laptop computer, S/N:
NXGLBAA0017062635 17600.
(e)4. Samsung cellular telephone, silver, Model: SM-J327P, DEC:
089162138406821714, HEX: 3551008681752
(e)5. ee cellular telephone, black, Model: SM-S337TL (GP), S/N:
R28K50AALNH
7. Devices 6(a)1 — 4, (b)1 — 6, (c)1 — 12, (d)1 — 2, (e)1 — 5 and (f)1 — 2, collectively the
“Devices,” are currently located at 633 W. Wisconsin Avenue, Suite 803, Milwaukee,
Wisconsin, 53203.
% The applied-for warrant would authorize the forensic examination of the Devices
for the purpose of identifying electronically stored data particularly described in Attachment B.
Til. PROBABLE CAUSE
A. Background of the Investigation
9. I believe that the marijuana trafficking and money laundering activities of this
organization began on or before at least the beginning of 2013 based upon all investigative
activities undertaken during the investigation. The investigative activities included, but are not
limited to, confidential informant (CI) interviews, other witness interviews, telephone, banking,
airline, car rental, other documentary evidence and analysis.
10. In 2017, members of the Milwaukee, Wisconsin Police Department initiated an
investigation into a large-scale marijuana drug trafficking organization (DTO) led by Josef K.
Habib and others. Habib acquired large shipments of marijuana from out of state source(s), which

Habib then distributed in the greater Milwaukee area and possibly elsewhere. The investigation

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also revealed that Habib used stash locations in the greater Milwaukee area, including Milwaukee
and Greenfield, WI.

11. On January 8, 2018, law enforcement officers conducted surveillance at an
identified stash location, 4100 W. Hillcrest Drive, apartment #207, Greenfield, WI, and observed
a vehicle known to be driven by Habib, a black Nissan Maxima, bearing WI license plate number
242LWL, parked in a visitor parking stall at 4100 W. Hillcrest Drive, near the garage for apartment
#207. The overhead garage door on the attached garage corresponding to #207 was fully open.

12. Law enforcement subsequently observed a Toyota Highlander bearing Virginia
license plates arrive. The vehicle drove into the open garage corresponding to apartment #207. The
garage door immediately closed.

13. Approximately 20 minutes later, the overhead garage corresponding to apartment
#207 opened, and law enforcement observed a white male enter the driver’s seat of the Toyota;
Habib stood in front of the Toyota. The Toyota pulled out and drove away. Habib entered the
Nissan Maxima and drove it into the garage corresponding to apartment #207; the overhead door
then closed.

14. Approximately 25 minutes later, the overhead door of the garage for apartment
#207 again opened, and the Nissan Maxima exited. Law enforcement officers observed that Habib
was the driver and sole occupant of the vehicle.

15. | Law enforcement authorities conducted a stop of the Nissan Maxima. Law
enforcement officers who were familiar with the odor and appearance of marijuana detected an
odor of marijuana emanating from the vehicle, and observed a large black plastic garbage bag on
the rear passenger seat. Based upon the earlier investigation, law enforcement officers believed

that Habib used these garbage bags to transport quantities of marijuana. A search of the garbage

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bag revealed foil sealed packages each of which contained suspected marijuana.

16. A complete search of the Nissan Maxima revealed a total of approximately 64
pounds of suspected marijuana within the trunk and rear passenger area of the vehicle. A field test
conducted on the suspected marijuana yielded positive results for the presence of THC.

1 On January 8, 2018, law enforcement authorities also conducted a stop and search
of the Toyota Highlander. This search revealed approximately 160 pounds of marijuana and in
excess of $300,000 in U.S. eurrency.

18. Search warrants were subsequently executed on January 8, 2018, at 4100 W.
Hillcrest Drive, apartment #207, Greenfield, WI, believed to be the stash location, and at the
residence of Habib, located at 117 W. Walker Street, apartment #303, Milwaukee, WI.

19. Law enforcement officers found approximately 206 pounds of marijuana at 4100
W. Hillcrest Drive, apartment #207. Additionally, | law enforcement located and seized
approximately 16 pounds of marijuana, in excess of $21,500 in U.S. currency, and a loaded .40
caliber pistol from 117 W. Walker Street, apartment #303. Also seized were items consistent with
the packaging and distribution of controlled substances.

20. The majority of the marijuana seized was contained in mylar vacuum sealed bags,
some within black plastic construction bags.

21. Rental documents obtained for the stash location at 4100 W. Hillcrest Drive
revealed that it had been rented in 2017 by Fredric Birault, and an individual named “Larry Peters”
was the contact listed for Birault, with an email address of larrygoeshardaf@gmail.com. “Larry
Peters” was subsequently determined to be an alias for Lev Reys, and the email address
larrygoeshardaf@gmail.com was determined to be an email address associated with Lev Reys. The

subscriber for utilities in the stash apartment were in the name of Biraullt.

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22. | When Habib moved to Milwaukee in approximately December 2016, law
enforcement learned that Habib resided at 814 E. Kilbourn Ave., Milwaukee, WI. The subscriber
for utilities at the Kilbourn Avenue location were in the name of Rohert Malkin. Habib resided
there until February 2017, at which time he moved to another stash location at 4250 S. Ravinia
Dr., #103, Greenfield, WI.

23. Rental documents obtained for 4250 S. Ravinia Dr., #103, Greenfield, WI, located
in the same apartment complex as 4100 W. Hillcrest Drive #207, revealed that the Ravinia Drive
location was rented by Robert Malkin in February 2017. For the rental application credit/income
fields on the application, Malkin supplied copies of three checking account statements for a joint
account at JPMorgan Chase Bank, in the names Robert Malkin and Sydney Malkin, Robert’s
daughter, Account #***0130. The account mailing address on two statements (December 2016
and February 2017), listed 226 W. Ojai Ave., #101, Ojai, CA. The address on the statement for
January of 2016, which may have been provided in error, listed an address of 3639 W. Harbor
Blvd., #201, Ventura, CA. The insurance for the apartment rental was under the names Robert
Malkin and Sydney Malkin, with an address of 226 W. Ojai Ave., #101, Ojai, CA. Robert Malkin
paid the initial monthly rent of $1,130 for this stash location in money orders. The utilities were
subscribed to in Sydney Malikin’s name at the Ravinia Drive apartment.

24. Rental documents obtained for the residence of Josef Habib, 114 W. Walker Street,
Milwaukee revealed that in April 2017 the apartment had been rented by Corianne Markowski, the
girlfriend of Josef Habib. In the rental application, Markowski listed her employment since 2012
as Malkin Properties, 3639 W. Harbor Blvd., #201, Ventura, CA. Robert Malkin was listed as
Markowski’s supervisor with a contact telephone number of 805-279-5393, a number known to

be utilized by Robert Malkin. Markowski also listed her previous residence as an address known

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by law enforcement through database checks as a residence owned by Malkin Properties in West
Mifflin, PA.

25. Information received from the Wisconsin Department of Workforce Development
regarding Markowski's claimed wages revealed that she lived in Wisconsin from 2012 — 2017; not
6719 Buchannan Avenue, West Mifflin, PA 15120, as alleged in her rental application.

B. Historical Information

26. In January 2018, a confidential informant (CI) began cooperating in the continuing
investigation into the above-referenced DTO. The CI provided information about the membership,
structure, and customs of the nation-wide marijuana DTO. Law enforcement has corroborated the
CI’s information through various public databases, documents obtained during the investigation,
asset and ownership records, law enforcement records, physical observations, other CI
information, and review of recorded jail calls detailed, in part, below. The CI’s information has
not found to be false or misleading. The CI has no criminal record and is receiving consideration
in connection with a pending drug case from the United States Attorney’s Office for his/her
cooperation with law enforcement. The CI has also received monetary compensation for expenses.
For these reasons, I consider the CI to be reliable.

Dis The CI stated an individual named “Bob,” subsequently identified as Robert
Malkin, ohtained in excess of 1,000-pound quantities of marijuana in California, which were
subsequently transported by semi-tractor trailer to a location in Maryland. Parts of the shipments
were then distributed to various locations in the U.S., including the Vinginia/ Washington D.C.
area; Pittsburgh, PA; North Carolina; and Milwaukee, WI. The CI further stated Robert Malkin
operates a property management company, and is believed to launder drug proceeds through the
company by purchasing properties.

28. In 2013 and 2014, the United States Postal Service seized and forfeited mailed

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parcels from Robert Malkin to his wife, Susan Malkin, which contained large sums of currency.
In 2013, $25,000 was seized, and in 2014, an additional parcel containing over $149,000 was
seized. In addition, based upon a civil forfeiture complaint filed in U.S. District Court, Central
District of California, in July 2014, the 2014 parcel was shipped by Robert Malkin in Clairton,
Pennsylvania to Susan Malkin, at a UPS store in Ventura, CA. The telephone number used by
Robert Malkin on the parcel mailing in 2014 was 805-279-5393.

29. The CI further provided information regarding the hierarchy of the DTO.
According to the CI, Robert Maikin financed the marijuana trafficking organization. Lev Reys was
in charge of the transportation of the marijuana from California to Maryland, and other locales.
Seth Jacobs held a similar status in the organization as the main distributor/overseer of the
Virginia/Maryland/DC. marijuana distribution. Joseph Habib directed aspects of the East Coast
operation along with running the Milwaukee market. Nahom Hagos! and Alae Arbi sold quantities
of the shipments in the Maryland/Alexandria Virginia and Washington D.C. areas on behalf of the
organization.

30. In 2016, Seth Jacobs was named in a DEA investigation when law enforcement
seized $29,950 in suspected drug proceeds from him at Dulles International Airport.

31. During the course of the investigation, case agents learned that Jason Malkin,
Robert Malkin’s nephew, also participated in operational logistics of the DTO as set forth below.

32. In November 2017, Lev Reys recruited the CI to reside at a stash location in

Germantown, MD. The CI met Lev Reys through a mutual associate, Fredric Birault, both of whom

 

| In 2011, Nahom Hagos was one of 18 individuals charged by the U.S. District Court in
Alexandria, Virginia with conspiracy to distribute marijuana. The individuals obtained shipments
of marijuana from California and distributed it in that district, including but not limited to, college
campuses in other states. Hagos pled guilty and was sentenced to 18 months prison.

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the CI knew to reside in California. Birault told the CI that Reys was looking for someone to assist
in the organization’s marijuana trafficking organization. The DTO needed someone to oversee the
marijuana stash and off load locations in Maryland. Reys stated he would pay the individual for
those duties. Birault declined the offer as Birault did not wish to move to Maryland. Reys advised
the CI that a coconspirator named “Scotty,” subsequently identified by law enforcement as Scott
Jungwirth, had occupied the Maryland stash house just before the CI. Reys stated Jungwirth had
been tasked with the same duties as the CI, but Jungwirth no longer occupied the stash house.

33. According to the CI, the semi-tractor trailer shipments of marijuana that arrived
from California were off loaded from hidden compartments in the trailer at a hangar in
Hagerstown, MD. Two locked large steel construction bins in the hangar were used to store
marijuana when the trailers were picked up.

34. | The marijuana was then transported for re-packaging and distribution at the stash
house in Germantown, MD. The CI was responsible for oversight of the shipments of marijuana
upon their arrival in Maryland by keeping accurate counts of the weights of marijuana that were
shipped to the hangar and processed at the stash house.

35. | The CI was also in charge of the inventory of the bags in the hangar. Upon
obtaining quantities of marijuana, the Cl] resealed and renumbered the bags with the current
accurate count of the bags/pounds. The marijuana was packaged in mylar bags, and vacuum sealed
bags inside black plastic construction bags.

36. The CI was also responsible for collecting, processing, and packaging large
quantities of currency from various coconspirators that represented the proceeds from marijuana
sales.

37. After the CI moved to the stash house in Germantown, Maryland which was just

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before Thanksgiving 2017, Reys took the CI shopping for house supplies and food at a Wal-Mart
near Germantown. A day or two later, Reys and the CI went to CubeSmart in Gaithersburg where
Reyes rented an interior storage unit, #4030. Reys told the CI to put the rental in the CI's name,
and Reys paid for the rental. Reys then purchased a Rigid steel construction bin. Reys and the CI
transported it to CubeSmart and put it in the storage unit. Reys provided the CI with the spare keys
for the storage unit lock and two padlocks that he put on the construction bin.

38. According to the CI, the storage unit and bin were used for storing the U.S. currency
that the DTO accumulated through its marijuana sales before it was transferred to the hangar. At
the hangar, the cash was loaded into hidden compartments in the semi-trailers for transport to
California. ©

39. The DTO used hidden compartments in the semi-trailers to transport the marijuana
and marijuana proceeds. The trailer transporting marijuana from California to Maryland contained
what appeared to be lumber stacks, but the lumber stacks were actually hollowed out on the inside
with the top layer hinged so that the entire compartment could be accessed. The other trailer, which
transported the currency back to California, contained a fake movie production set with equipment
inside, restrooms, generators, and other similar detailing. Currency was hidden in a large steel
Rigid construction bin in the front of the trailer, which area could only be easily acceueed by
crawling under the generator mounted near the rear trailer door and over other equipment.

40. The truck drivers hauling the trailers allegedly did not know that they were
transporting either marijuana or money. Reys stated that they would never use the same driver
more than once.

41. The CI observed approximately 30-40 black plastic construction bags within the

fake lumber stacks. Each construction bag normally contained six to eight mylar bags, each of

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which generally contained five pounds of marijuana. The CI stated that the shipments from
California contained approximately 1,200 — 1,600 pounds per shipment.

42. The CI was present at the hangar on approximately four occasions when semi-
trailers were delivered or taken out, and Reys was present on two of those occasions.

43. On approximately three other occasions, the CI went to the hangar alone with
instructions from Jacobs to bring back five to six contractor bags of marijuana to the Maryland
stash house.

44, The Cl identified Josef Habib as a Milwaukee based distributor for the DTO. The
CI had obtained large quantities of U.S. currency from Habib, which the CI then transported back
to Maryland.

45. The CI first met Habib when Jacobs and Reys directed the CI to fly to Milwaukee.
The CI flew to Milwaukee on Southwest Airlines from Baltimore and the CI rented a ear, believed
to be from Enterprise. The CI was direeted to contact and meet with "Joe." The CI subsequently
met Habib by Hamburger Mary’s in Milwaukee. Habib delivered money to the CI, and the CI
observed that Habib drove a black car. The CI then drove the money to the stash house in
Germantown, MD. On another occasion, the CI met Habib at the stash house in Maryland.

46. The Cl identified Lev Reys as a close associate of Robert Malkin. The CI stated
Reys’ role in the DTO was overseeing transportation of the shipments of marijuana from California
to Maryland and other locations. The CI stated Reys has told the CI that Reys’ goal was to
accumulate numerous properties in the Pittsburgh, Pennsylvania area utilizing marijuana
distribution proceeds and then accumulate further wealth through ownership and rental of the
properties.

47. The CI identified an individual named “Seth,” subsequently identified as Seth

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Jacobs, as a main Maryland/Virginia based distributor for the DTO who frequented the stash house
in Maryland and oversaw a daily worker at the stash house.

48. The CI retained receipts from the CI’s trips which the CI then provided to Jacobs.
Jacobs reimbursed the CI with cash for the CI’s drug-related expenses.

49. The CI also identified an individual named Alae/Elae subsequently identified as
Alae Arbi, and an individual named “Nash,” subsequently identified as Nahom Hagos. Arbi and
Hagos frequented the stash house in Germantown, Maryland and obtained multi-pound quantities
of marijuana weekly. Arbi and Hagos then sold the marijuana in _ the
Maryland/Virginia/Washington D.C. area on behalf of the DTO.

50. Arbi normally frequented the stash house with Seth Jacobs and ran errands for him.
Arbi also ran a marijuana delivery service for Jacobs in the Washington, D.C. area. Jacobs and
Arbi had a business name on Weed Maps, a marijuana application that each of them had installed
on their cell phones. Arbi also came to the stash house at night to smoke marijuana.

51. On average, Hagos came to the stash house every few days, sometimes multiple
days in a row, and the CI overheard Hagos telling a stash house worker that Hagos needed 40 units
of something and a few units of something else. Based upon his familiarity with the DTO, the CI
knew that Hagos obtained pounds of different strains of marijuana for distribution.

52. The CI identified the CI’s two cellular telephone numbers. The CI also stated that
a cellular telephone that the CI had left at the stash house in Maryland had been provided to the Cl
by Lev Reys in November 2017 as a cellular telephone number to utilize for contacting
coconspirators in the DTO. The CI had changed cellular telephones because of service related
issues.

53.  Reys and Jacobs told the CI that Jungwirth was an older white male. The CI was

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also told that Jungwirth, the individual previously performing the duties of the CI, had driven the
Toyota Highlander. The Highlander had been as the transportation vehicle for Jungwirth.
Subsequently, this vehicle was provided to the Cl to use for deliveries and pickups, and other drug-
related duties.

54. A check of the title history for the Toyota Highlander revealed that on
August 1, 2017, it had been titled in the name Scott Jungwirth, 2014 Jewell Ln., Redding, CA.
The vehicle title was then transferred into the name of the CI on November 21, 2017.

55. The CI stated that on the day of Habib’s arrest, Reys first directed the CI to Bp at
another stash location in Milwaukee, which the CI identified as 7992 N. 107th St., #6 Milwaukee.
Prior to the CI’s departure from Germantown, MD, Reys gave the CI a set of keys for the
apartment. Reys directed the CI to take the marijuana from the 107th Street location and deliver
it to Habib. The CI estimated there were approximately 300 pounds of marijuana at the stash house
on 107th street. .

56. The CI then took the marijuana to Habib at the 4100 W. Hillcrest Dr. location.
Habib examined the different strains of marijuana and took approximately 140 pounds of the
marijuana, but left the CI with the remaining amount. Habib also put the bags and boxes containing
the U.S. currency in the Highlander for the CI to take back to Maryland.

57. The Cl was uncertain about what to do with the marijuana as the CI had never
driven marijuana that had already been delivered to another city back to the Maryland stash house.
The CI attempted to contact Jacobs and Reys via the Telegram application they utilized on their
cellphones; however, neither answered. |

Cc. Continuing Investigation

58. On January 9, 2018, case agents conducted a consent search at 7992 N. 107th St.,

#6, Milwaukee, WI. Law enforcement observed that no one resided in the apartment. Items

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observed and seized included plug-in air fresheners, a box of rubber gloves, and loose locksets for
doors. The air fresheners were the same type as what had been observed at the stash house at 4100
Hillcrest Dr., #207.

59. Records received from the property management company for 7992 N. 107th St.,
#6, Milwaukee revealed that the rental application was in the name Fredric Birault, 23907
Windward Ln., Valencia, CA with an application date of September 20, 2017, and a rental date
starting October 20, 2017. An email address of larrygoeshardaf@gmail.com was provided along
with a verification of income letter from a “Larry Peterson,” and telephone number 818-299-0267.
Communications from the email address larrygoeshardaf@gmail.com, stated that Birault was
employed by Oasis Management, Beverly Hills, CA as a property manager since 2012. The
telephone number and email address are a to be used by Reys.

60. On January 9, 2018, law enforcement from Montgomery County Sheriff's
Department executed a search warrant at the stash house in Germantown, MD based upon the
information developed in this investigation. A search of the residence revealed evidence consistent
with the information provided by the CI that the residence served as a stash location for the
marijuana distribution organization. Law enforcement recovered thousands of unused vacuum
sealed bags, marijuana remnants, a money counter, latex gloves, and the cellular telephone
provided by Reys that the CI identified as located at the stash house.

6l. In January 2018, case agents traveled to Maryland with the CI and conducted a
follow-up consent search at the stash house located in Germantown, Maryland utilizing the CI’s
keys. At that time, law enforcement seized additional items, including a crumpled Burke &
Herbert Bank ATM debit card receipt dated December 10, 2017, from a branch at 6210 Interparcel

Rd., Alexandria, VA, from the basement, and a paid parking stub, dated December 20, 2017, from

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a parking garage in Washington D.C. from the garbage.

62. Bank records and parking management company records received through
subpoenas revealed that the debit card receipt corresponded to a bank account of Alae Arbi. The
parking stub receipt was parking paid for using a credit card issued to Nahom Hagos.

63. Law enforcement’s review of records received from Burke & Herhert Bank
revealed that the debit card ATM withdrawal receipt seized from the stash house in Germantown,
MD, was tied to checking account number *4043, in the name of Alae Arbi of 7507 Shirley Hunter
Way, Alexandria, Virginia 22315.

64. Further review of records received from Burke & Herbert Bank revealed that the
debit card used for the charge on the parking stub receipt seized from the “stash house” in
Germantown, MD, was a match to a debit card for a checking account ***1403, in the name of
Nahom Hagos of 7704 Ousley Place, Alexandria, Virginia 22315.

65. | Lawenforcement also conducted consent searches at the CubeSmart storage unit in
Gaithersburg, MD and the rented warehouse hangar in Hagerstown, MD.

66. Upon searching the storage unit, the special agents observed a Rigid steel
construction bin inside the unit, which was padlocked. ty set of keys recovered from the stash
house in Germantown, MD opened the locks on the bin. The bin was empty.

67. Areview of surveillance video received from CubeSmart showed Reys and the CI
entering the storage unit in November 2017, on the day of the initial rental, and a few days later.
Both are observed on video unloading the Rigid steel construction bin from the Toyota Highlander,
and taking it inside the storage unit.

68. | Upon searching the warehouse hangar, a tractor-trailer was observed parked inside.

The interior of the trailer contained two false lumber and plywood stacks. The top layer of false

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lumber was hinged on each stack, which revealed empty hollowed out compartments. There were
also two additional Rigid steel construction bins in the warehouse hangar.

69. | Acheck of the California license plate number on the trailer in the hangar revealed
that the trailer was registered to Fredric Birault, at 23907 Windward Ln., Valencia, CA.

70. Subpoenaed records were obtained from World Wide Freight Carrier, LLC. On
April 9, 2018, Robert Malkin, from email address bobmalkin@gmail.com, communicated with an
employee at World Wide Freight Carrier regarding “Trailer pick up.” Robert Malkin requested
“pick up” at “18238 shoalwater rd 21742,” which your affiant knows is the address for the
warehouse hangar previously identified by the CI, and examined by case agents. Robert Malkin
provided a delivery address of “2509 N. Ventura Avenue, Ventura 93001.” The shipping rate was
listed as $4,895.00.

71. Rental documents obtained for the stash house in Germantown, MD, revealed that
the residence was rented by Robert Malkin in July 2017. Rental documents for the warehouse
hangar revealed that it was also rented by Robert Malkin in September 2017.

72. During the week of January 8, 2018, an attorney contacted law enforcement and
advised that an individual who identified himself by the name of “Seth” had contacted the attorney
regarding the CI, and inquired as to the attorney representing the CI. The attorney stated that the
telephone number “Seth” called from was a “707” area code number. The CI stated the CI doesn’t
know any other individual named “Seth” other than Seth Jacobs. The CI believed that Jacobs was
the individual who called the attorney because Reys had told the Cl in the past that if the CI was
ever arrested the organization would obtain an attorney for the CI.

D. DTO’s Methods of Communication

73. The Cl identified various telephone numbers and usernames of the coconspirators

from an encrypted cellular telephone application called Telegram. This application allowed the

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coconspirators to contact one another in a manner arranged to avoid detection by law enforcement
icaaee it provided a “secret chat” feature. The CI stated that the usernames the coconspirators
utilized in the applications were fictitious names that the coconspirators had selected. The CI stated
all of the known individuals primarily used the secret chat and voice calling features on Telegram.
The individuals whom the CI identified also frequently changed cellular telephone numbers to
avoid detection by law enforcement. The CI knew Jacobs carried three cellphones at a time, and
Reys used more than one cellphone.

74. Law enforcement authorities reviewed the cellular telephone of the CI, and the
Telegram application on the CI’s cellular telephone. The Cl identified the following names and
Telegram contacts: “Joe” with a fictitious name of “Steven Trace” and username @Ralfy434,
Telegram telephone number 414-888-0646 as the contact information for Josef Habib; the name
“Larry Peters” and username @LarryPeters, Telegram telephone number 818-299-0267 as the
contact information for Lev Reys; the name “Alle” with no telegram telephone number saved as
the username for Arbi; the name “Ben,” whom the CI identified as a daily stash house worker,
with a fictitious name of @timwilliams (a/k/a Paul Ramon) with no telephone number saved as
“Ben;” the name “Bob” with username name “BM” with no telephone number saved as Robert
Malkin; and, the name “Seth” with the fictitious username “Rick Orozco” as the username of
Jacobs.

75. Outgoing calls were observed to the Telegram usernames of Reys and Jacobs
during the time period after the CI left Habib’s 4100 W. Hillcrest Dr. stash location on J anuary 7,
2018.

76. Law enforcement authorities also observed numerous secret chats between the CI

and the other referenced user names.

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77. Law enforcement authorities further observed numerous pictures time stamped
December 21, 2017, of notebook pages containing handwritten notations of abbreviated names for
marijuana strains with numbers next to the abbreviations on the CI’s phone. The CI stated that they
were pictures taken by the CI that the CI then sent to Reys and Jacobs documenting the pounds of
various types of marijuana that was remaining on that date at the hangar. The CI had been directed
to pick up a quantity of marijuana at the hangar and bring it back to the stash house in Germantown,
MD.

78. On January 25, 2018, law enforcement authorities obtained search warrants from
the Honorable Magistrate Judge William E. Duffin for the two cellular telephones of Habib, 414-
888-1856 and 571-639-1582. A review of the telephones revealed contacts in Telegram with a
name entered as “Bdigi,” telephone number 805-279-5393 (known to be the telephone number of
Robert Malkin), and encrypted conversations between that number and Habib’s cellular telephone.
Additional telegram usernames were Paul Ramon with username @Timwilliams (identified by the
Cl as the individual “Ben,” whom the CI identified as a daily Maryland stash house worker) with
calls between the two.

79. Law enforcement authorities also observed numerous chats and secret chats
between Habib’s cell phone and other unidentifiable uernames on Telegram. Some of the chats
contained pictures of notebook pages iisus handwritten drug ledgers, including lists of various
marijuana strains. These ledgers also listed corresponding numerical quantities and monetary
amounts, including pages entitled “Milw. Inventory,” and “D.C. Inventory” along with dollar
amounts totaling over $1,000,000. Some of these chats were with Paul Ramon.

80. Database checks for telephone number 805-279-5393 revealed the telephone

number is listed to Robert Malkin. Further records obtained through subpoenaed documents

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related to rental locations, banking and other records revealed Robert Malkin used telephone
number 805-279-5393.
E. Financial and Travel Information

1. Financial Information

81. Areview of records received from Burke & Herbert Bank regarding the checking
account for Nahom Hagos revealed the following:

a. Nearly all deposits into Nahom Hagos’ checking account from
December 11, 2015, through September 30, 2016, were direct deposits from his listed employer at
that time, Global Engineering Solutions.

b. From October 14, 2016, through March 29, 2018, nearly all deposits into
Hagos’ checking account consisted of currency or Venmo cash-outs. As per Venmo’s website on
June 1, 2018, “Venmo is a free digital wallet that lets you make and share payments with friends.”
The annual totals for the currency deposits were $11,615 in 2016, $31,659 in 2017, and $17,220
through March 29, 2018.

c. Numerous electronic expenditures were made from Nahom Hagos’
checking account to various retail establishments in the Gaithersburg and Germantown, MD areas,
beginning in mid-2016. Those expenditures were frequently made at fast food establishments
while direct deposits were being made to Hagos’ account. Electronic expenditures at fast food
restaurants decreased significantly when currency deposits into Hagos’ account increased. Based
upon affiant’s training, experience, and familiarity with the investigation, affiant believes that this
indicates Hagos began making food purchases with un-deposited currency.

d. Multiple electronic expenditures were made in the Milwaukee, Wisconsin
area during December 14 — 18, 2016, which is when other members of the DTO were in

Milwaukee.
82. A check with the State of Virginia Employment Commission revealed the

following:

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a. No wages for Seth Jacobs since the third quarter of 2017, with a yearly total
for the first three quarters of 2017 as approximately $6,000; in 2016 approximately $13,300; in |
2015 approximately $12,200; and in 2014 approximately $17,700.

b. No wages claimed for Alae Arbi in any year.

c. No wages for Mohammed Omar, another co-conspirator, since the second
quarter of 2015, with a yearly total for the first two quarters of 2015 as approximately $12,200.

2. Travel Information

83. The flight, rental car, financial information, and cellular call and location data
establish the DTO’s known travels in furtherance of the conspiracy to include, but not limited to,
travel to Los Angeles, San Francisco, Sacramento and Garberville, California; Milwaukee,

Wisconsin; Maryland; and Washington D.C.

84. | Lawenforcement authorities know that the airport in San Francisco is the last major
airport in closest proximity to the Garberville/Humboldt County areas of northern California. In
addition, Sacramento, California is known as a major trucking/shipping location for shipments of
marijuana emanating from northern California.

85. In part, a review of received subpoenaed airline flight records and rental vehicle
records revealed the following:

a. Habib flew 21 times from the Maryland area in 2015 and 2016 with 15
flights to San Francisco, three to Sacramento, and three to Los Angeles. Approximately seven
flights did not list corresponding outbound/inbound flights; most of these flights occurred from
Baltimore to San Francisco. In 2017, Habib flew 17 times; most flights departed from Milwaukee
with one flight to San Francisco, nine to Sacramento, three to Los Angeles, and four flights to
Washington, D.C. Two flights did not include corresponding outbound/inbound flights; one such

flight occurred from Milwaukee to Washington D.C., and one from Los Angeles to Milwaukee.

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b. Approximately 18 of Habib’s airfares were paid for by Seth Jacobs,
including four when Habib flew with other individuals, all of hich occurred in 2015 and 2016.

c Jacobs paid for an airfare for Habib, Arbi, and a third individual; and, Hagos
paid for one of Habib’s flights.

d. Jacobs flew 11 times in 2015/2016 from the Maryland area with nine flights
to San Francisco and two to Los Angeles. Five flights to San Francisco did not list a corresponding
return flight.

e. Mohammad Omar flew once in 2016 with Habib from Maryland to San
Francisco.

f. Scott Jungwirth flew once from San Francisco to Los Angeles in 2016, and
flew once from Redding, CA to Baltimore in 2017.

g. Lev Reys flew 14 times in 2017, with eight flights to the Washington
D.C./Baltimore area, one to San Francisco, and five to the Milwaukee/Chicago area, all of which
occurred between September, 2017, and January, 2018.

h. Robert Malkin flew six times in 2016, with five to Washington
D.C./Baltimore, and one to Sacramento. In 2017, Malkin flew 11 times, with three flights to the
Washington D.C./Baltimore area, four to the Milwaukee/Chicago area, one to San Francisco, and
three flights to Sacramento. Most of Malkin’s flights originated from either the Los Angeles or
Las Vegas area, and approximately three flights listed no corresponding return flights. This
included two flights in September 2016, when Malkin flew to Baltimore, and one in August 2017,
when Malkin flew to Milwaukee.

86. Areview of rental vebicle records revealed the following:

a. In 2015, Habib rented eight vehicles, with four rented in San Francisco and

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returned in Alexandria, Virginia; one vehicle rented in San Francisco and returned in Reno,
Nevada; one vehicle rented in Reno and returned in Washington D.C.; and one vehicle rented and
returned in Reno.

b. In 2016, Jacobs rented seven vehicles, with five rented and returned in San
Francisco, and two rented and returned in Sacramento.

c. In 2017, Reys rented 14 vehicles, with two in Milwaukee, ten in Baltimore,
and two in Chicago, all of which were returned to the same city as rented; and one in 2018 rented
and returned in Baltimore.

d. In 2017, Jason Malkin rented 15 vehicles, seven in Milwaukee with six
returned in Milwaukee and one returned in Pittsburgh; Malkin rented two vehicles in Pittsburgh
that were returned in Baltimore; Malkin rented one vehicle in Chicago that was returned in
Pittsburgh, and he rented and returned five vehicles in Baltimore. Each rental listed Jason Malkin
as the renter, and each rental listed his driver’s license and cellular telephone number 310-948-
4015. Based upon their familiarity with the investigation, law enforcement knows that Jason
Malkin used this number.

é. In 2016, Hagos rented three vehicles, one in Milwaukee, one in Washington
D.C., and one in Sterling, Virginia, all of which were returned to the same cities. In 2018, Hagos
also rented one vehicle that was rented and returned in Washington D.C.

f. In 2016, Jungwirth rented one vehicle in Redding. In 2017, Jungwirth also
rented two vehicles; one in Baltimore and one in Sacramento, all of which were returned to the
same Cities.

g. In 2016, Robert Malkin rented seven vehicles; Malkin rented four in the

Baltimore/Washington D.C. area; one in Redding; and two in Sacramento, all of which were

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retumed to the same cities except the Sacramento vehicle was retumed to Los Angeles. In 2017,
Malkin rented 17 vehicles; two in Milwaukee, six in Sacramento, and nine in the
Baltimore/Washington D.C. area. All vehicles were returned to the same city except three rented
in Sacramento were returned twice in San Francisco and once in Los Angeles. In 2018 Malkin
rented three vehicles, with two rented in Sacramento and one in San Francisco, all of which were
returned to the same cities.

87. Between January 2017, and September 2017, on at least eight different occasions
Robert Malkin and Jason Malkin incurred credit card expenses for airline flights and/or rental
vehicles in Milwaukee. Some of these rentals coincided with the establishment of stash houses in
Milwaukee. For example, on February 25, 2017, the credit card assigned to Jason Malkin incurred
a rental car expense in Milwaukee, WI. The following day, on February 26, 2017, the Jason Malkin
card incurred an expense for Jason Malkin to fly from Los Angeles, CA to Milwaukee, WI. On
February 28, 2017, the rental application in the name of Robert K. Malkin for the Ravinia Drive
stash house in Greenfield, WI, as well as proof of Robert Malkin’s income, were submitted through
BobMalkin@gmail.com, On March 1, 2017, the Jason Malkin credit card incurred another rental
vehicle expense in Milwaukee, WI. Also on March 1, 2017, Habib flew from Milwaukee, WI to
Sacramento, CA, a transportation hub for the shipment of marijuana in northem California. In
addition, on March 1, 2017, Robert Malkin rented a vehicle in Sacramento and retumed it one day
later, which coincided with Habib’s departure from Sacramento back to Milwaukee.

88. On numerous other occasions in 2017 Lev Reys, Robert Malkin, Jason Malkin, and
Scott Jungwirth rented vehicles in Baltimore, MD.

89. Through a map review, your affiant noted that the airports in Washington D.C. and

Baltimore, MD are the same proximate distance from the stash house in Germantown, MD, and

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the warehouse hangar in Hagerstown, MD. Previously the CI stated that coconspirators would
utilize either airport when they traveled to Maryland.

90. On October 6 — 8, 2016, expenditures on the Robert Malkin credit card issued to
Jason Malkin were incurred at a hotel in Garberville, Maryland. A review of the records revealed
that Habib and Jacobs flew from Baltimore to Los Angeles on October 7, 2016.

91. In November 2016, the Robert Malkin credit card incurred expenses for a flight in
his name from Los Angeles to Pittsburgh, and he rented a car in Pittsburgh. On November 19,
2016, Malkin returned this vehicle in Miami, Florida. On November 19, 2016, Habib and another
individual flew to Miami and returned on November 19, 2016. On November 20, 2016, the Rohert
Malkin credit card incurred an expense for a flight from Miami to Los Angeles.

92. On December 6, 2016, Robert Malkin flew from the Los Angeles area to
Sacramento and rented a vehicle in Sacramento. On that same date, the Jason Malkin credit card
incurred expenses at a location in Sacramento, and one in Redding. On December 6 and 7, the
Scott Jungwirth credit card incurred expenses in Redding. On December 7, 2016, Habib and
Jacobs flew from Baltimore to San Francisco. Jacobs rented a vehicle in San Francisco, which
was returned on December 9, 2016. On December 8, 2016, the Jason Malkin credit card incurred
an expense for a flight in the name Robert Malkin on December 11, 2016, and a flight for Jason
Malkin from Los Angeles to Pittsburgh. Yet, the Jason Malkin credit eard continued to incur
expenses in northern California until December 12, 2016. On December 9, 2016, Habib and Jacobs
flew from San Francisco to Washington D.C.

93. On January 9, 2017, the Robert Malkin credit card incurred an expense in
Milwaukee and on January 10, 2017, the Jason Malkin credit card incurred expenses for a flight

from Los Angeles to Milwaukee. Jason Malkin, using this credit card, rented a car which was

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returned in Pittsburgh. On January 11, 2017, Robert Malkin rented a vehicle in Pittsburgh, and
then flew from Pittshurgh to Los Angeles.

94. Onother dates in January and February 2017, the Jason Malkin credit card incurred
expenses on three different occasions in Milwaukee. In addition, shortly thereafter, the Jason
Malkin credit card incurred expenses at other locations known to be connected to the conspiracy.
For example, on one occasion the Jason Malkin card incurred expenses in Milwaukee, then in
Germantown, Maryland, and finally an expense for a flight from Washington D.C. to Los Angeles.
On February 3, 2017, Habib flew from Milwaukee to Washington D.C., and one day later, the
Jason Malkin card incurred a charge for a flight from Los Angeles to Milwaukee, with another
rental vehicle expense.

95. On July 16, 2017, Robert Malkin rented a vehicle in Washington D.C., which he
did not return until July 27, 2017. The Jason Malkin credit card incurred an expense on July 17,
2017, for a rental car from Milwaukee, with a return date of the same day, July 17, 2017, in
Chicago, IL. The following day, July 18, 2017, the Scott Jungwirth credit card incurred an expense
to fly from Redding, California to Baltimore, Maryland, while the Jason Malkin credit card
incurred an expense to fly from Baltimore, Maryland to Los Angeles, California. This timeline
coincides with the July 17, 2017, move-in date for the stash house located in Germantown,
Maryland, which was rented in the name of Robert Malkin. Based on my training, experience,
and familiarity with the investigation including these records, your affiant believes that Robert
Malkin, Jason Malkin, and Scott Jungwirth were present in Maryland to assist with establishing
the Germantown stash house.

96. Areview by law enforcement of Lev Reys credit card accounts, including Citibank

account statements, revealed that Reys flew to Milwaukee from Los Angeles on September 19,

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2017, and then from Milwaukee to Baltimore on September 22, 2017. Reys then flew from
Baltimore to Los Angeles on September 23, 2017. At the same time, records and cell-tower data
place Robert Malkin in Milwaukee. Historical cell-tower information placed Robert Malkin in
Milwaukee from September 19-21, 2017. A review of flight records revealed that on September
22, 2017, Robert Malkin traveled from Milwaukee to Baltimore — the same date that Reys flew to
Baltimore.

97. On November 8 — 9, 2017, Reys’ credit card also incurred charges from a Holiday
Inn hotel and Home Depot store in the Milwaukee area. Records received from the Holiday Inn
revealed Reys rented a room the night of November 8 into November 9, 2017. A sete of the
transaction receipt from home Depot from November 9, 2017, revealed Reys purchased various
household cleaning items and supplies including lockset(s), the identical air fresheners observed
at 4100 W. Hillcrest #207 and 7992 N. 107th St., #6, and latex gloves.

98. Areview of the charge card accounts and airline records revealed a pattern in 2017
of Robert and Jason Malkin’s travels overlappmg with believed shipments of ‘marijuana from
California to Milwaukee and Maryland. The records also revealed that the Malkins’ travel
coincided with period where Reys and Habib made arrangements to establish the stash locations
in Milwaukee WI and Germantown/Hagerstown, MD.

99. On June 4, 2017, Jacobs and Habib were stopped by the Milwaukee County
Sheriff's Department in a Nissan Maxima, known to be driven by Habib. Jacobs, a rear passenger
in the vehicle, was issued a citation for possession of marijuana. The report indicates other
occupants of the vehicle; however, it does not list their names. The report listed Jacobs’ address
as 6504 Osprey Point Ln., Alexandria, VA and that his address was verified.

100. Subpoenaed credit card and hotel records further revealed that Jacobs and Hagos

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both incurred charges on credit cards in their names at the InterContinental Hotel in Milwaukee.
A review of hotel records revealed that on December 12, 2016, a room was rented under the name
Colin Jacobs (Colin is middle name of Seth Cc. Jacobs). A room was also rented under the name
Nahom Hagos for two nights, Decemher 12 and 13, 2016.

101. Credit card records also reveal that Omar traveled with Habib to northern California
on July 24, 2016; the flights were paid for by Jacobs.
F. Search and Arrest Warrant Execution

102. On July 19, 2018, United States Magistrate Judge William E. Duffin, Eastern
District of Wisconsin, issued a criminal complaint charging defendants Robert K. Malkin, Jason
J. Malkin, Lev B. Reys, Fredric H. Birault, Scott A. Jungwirth, Seth C. Jacobs, Alae Arbi, Nahom
Hagos, Mohammed E. Omar, And Lachelle Cook with conspiracy to possess with intent to
distribute and to distribute marijuana in violation of Title 21, United States Code, Sections 846,
841(a)(1), (b)(1)(B), and money laundering in violation of Title 18, United States Code, Section
1956(h). United States Magistrate Judge William E. Duffin issued arrest warrants for each of the
individuals.

103. Also on July 19, 2018, search warrants were issued by United States Magistrate
Judge William E. Duffin for Lachelle Cook’s residence at 2866 N. 56th St., Milwaukee, and
Corianne Markowski’s residence at 2531 N. Murray Ave., Unit 1, Milwaukee.

104. On July 24, 2018, United States Magistrate Judge Michael Nachmanoff issued
search warrants including for Seth Jacobs’ residence at 6504 Osprey Point Lane, Alexandria, VA;
the residence of Alae Arbi at 7507 Shirley hunter Way, Alexandria, VA; and, the residence of

Mohammed Omar at 8418 Jovin Circle, Springfield, VA.

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105. On July 25, 2018, the search warrants were executed and all of the individuals,
except for Jacobs, were arrested on that date pursuant to the arrest warrants issued by United States
Magistrate Judge William E. Duffin. Jacobs surrendered himself at a later date.

106. While conducting a search of Cook’s residence at 2866 N. 56th St., Milwaukee,
law enforcement authorities seized a quantity of marijuana, a digital scale, ammunition, documents
as well as Devices (a) — 4.

107. While conducting a search at Markowski’s residence at 2531 N. Murray Ave., Unit
1, Milwaukee, law enforcement authorities seized a quantity of marijuana, a digital scale, a .40
caliber pistol, ammunition, documents as well as Devices (b)1 — 6.

108. While conducting a search at Omar’s residence at 8418 Jovin Circle, Springfiled,
VA, law enforcement authorities seized a 9mm pistol, an assault rifle, a quantity of marijuana,
documents, as well as Devices (c)1 — 12.

109. While conducting a search of Jacobs residence at 6504 Osprey Point Ln.,
Alexandria, VA, law enforcement authorities seized approximately $2,960 in U.S. currency as well
as Devices (d)1&2.

110. While conducting a search of Arbi’s residence at 7507 Shirley Hunter Way,
Alexandria, VA, law enforcement authorities seized documents as well as Devices (e)1 — 5. A
search warrant was also obtained for a Penske rental truck which had been rented by Arbi and
parked outside the residence. Law enforcement seized approximately $79,645 in U.S. currency
from the rental truck.

111. Based upon the facts described above, that there is probable cause to believe that a
search of the information contained within the above described Devices will produce evidence of

a crime, namely evidence related to the possession and trafficking of marijuana; that through

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affiant’s training, experience and discussions with other experienced law enforcement officers,
affiant is familiar with the ways in which drug traffickers conduct their unlawful trade, including
their methods of distrihution, their utilization of communication devices, their use of coded
communications to conduct their transactions, the employment of counter surveillance, their use
of false or fictitious identities, and their utilization of various forms of electronic devices to store
and/or conceal illegal activity;

1 12. Based upon my training and experience, affiant knows that individuals involved in
drug trafficking frequently use cellular telephones to maintain contact with their sources of
controlled substances as well as customers and co-conspirators in the distribution of controlled
substances; that affiant has also found it very common for crime suspects to use their cellular
telephones to communicate aurally or via electronic message in “text” format with individuals
whom they purchase, trade, or otherwise negotiate to obtain illegal drugs; therefore records
contained within said Devices will provide evidence related to the identity of said supplier(s), co-
conspirators, and customers;

113. Based upon my training and experience, affiant helieves it is common for crime
suspects who possess illegal narcotics to often take or cause to be taken photographs and other
visual depictions of themselves, their associates, and the illegal narcotics that they control, possess,
buy and sell; furthermore, that these photographs and visual depictions are typically kept and
maintained on their cellular devices.

114. The Devices were seized during the execution of a warrant and are currently in the
lawful possession of the Wisconsin Department of Justice, Division of Criminal Investigations
(DCI). Therefore, while the Wisconsin Department of Justice, DCI might already have all

necessary authority to examine the Devices, I seek this additional warrant out of an abundance of

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caution to be certain that an examination of the Devices will comply with the Fourth Amendment
and other applicable laws.

115. The Devices are currently in storage at 633 W. Wisconsin Ave., Suite 803
Milwaukee, Wisconsin 53203. In my training and experience, I know that the Devices have been
stored in a manner in which its contents are, to the extent material to this investigation, in
substantially the same state as they were when the Devices first came into the possession of the
Wisconsin Department of Justice, DCI.

IV. TECHNICAL TERMS :

116. Based on my training and experience, I use the following technical terms to convey
the following meanings:

a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular
telephone) is a handheld wireless device used for voice and data communication
through radio signals. These telephones send signals through networks of
transmitter/receivers, enabling communication with other wireless telephones or
traditional “land line” telephones. A wireless telephone usually contains a “call
log,” which records the telephone number, date, and time of calls made to and from
the phone. In addition to enabling voice communications, wireless telephones offer
a broad range of capabilities. These capabilities include: storing names and phone
numbers in electronic “address books;” sending, receiving, and storing text
messages and e-mail; taking, sending, receiving, and storing still photographs and
moving video; storing and playing back audio files; storing dates, appointments,

and other information on personal calendars; and accessing and downloading

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information from the Internet. Wireless telephones may also include global
positioning system (“GPS”) technology for determining the location of the deviee.

b. Digital camera: A digital camera is a camera that records pictures as digital picture
files, rather than by using photographic film. Digital cameras use a variety of fixed
and removable storage media to store their recorded images. Images can usually
be retrieved by connecting the camera to a computer or by connecting the
removable storage medium to a separate reader. Removable storage media include
various types of flash memory cards or miniature hard drives. Most digital cameras
also include a screen for viewing the stored images. This storage media can contain
any digital data, including data unrelated to photographs or videos.

c. Portable media player: A portable media player (or “MP3 Player” or iPod) is a
handheld digital storage device designed primarily to store and play audio, video,
or photographic files. However, a portable media player can also store other digital
data. Some portable media players can use removable storage media. Removable
storage media include various types of flash memory cards or miniature hard drives.
This removable storage media can also store any digital data. Depending on the
model, a portable media player may have the ability to store very large amounts of
electronic data and may offer additional features such as a calendar, contact list,
clock, or games. |

d. GPS: A GPS navigation device uses the Global Positioning Svsteni 0 display its
current location. It often contains records the locations where it has been. Some
GPS navigation devices can give a user driving or walking directions to another

location. These devices can contain records of the addresses or locations involved

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in such navigation. The Global Positioning System (generally abbreviated “GPS”)
consists of 24 NAVSTAR satellites orbiting the Earth. Each satellite contains an
extremely accurate clock. Each satellite repeatedly transmits by radio a
mathematical representation of the current time, combined with a special sequence
of numbers. These signals are sent by radio, using specifications that are publicly
available. A GPS antenna on Earth can receive those signals. When a GPS antenna
receives signals from at least four satellites, a computer connected to that antenna
can mathematically calculate the antenna’s latitude, longitude, and sometimes
altitude with a high level of precision.

e. PDA: A personal digital assistant, or PDA, is a handheld electronic device used for
storing data (such as names, | addresses, appointments or notes) and utilizing
computer programs. Some PDAs also function as wireless communication devices
and are used to access the Internet and ser and receive e-mail. PDAs usually
include a memory card or other removable storage media for storing data and a
keyboard and/or touch screen for entering data. Removahle storage media include
various types of flash memory cards or miniature hard drives. This removable
storage media can store any digital data. Most PDAs run computer software, giving
them many of the same capabilities as personal computers. For example, PDA
users can work with word-processing documents, spreadsheets, and presentations.
PDAs may also include global positioning system (“GPS”) technology for
determining the location of the device.

f. Tablet: A tablet is a mobile computer, typically larger than a phone yet smaller

than a notebook, that is primarily operated by touching the screen. Tablets function

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117.

as wireless communication devices and can be used to access the Internet through
cellular networks, 802.11 “wi-fi” networks, or otherwise. Tablets typically contain
programs called apps, which, like programs on a personal computer, perform
different functions and save data associated with those functions. Apps can, for
example, permit accessing the Web, sending and receiving e-mail, and participating
in Internet social networks.

IP Address: An Internet Protocol address (or simply “IP address”) is a unique
numeric address used by computers on the Internet. An IP address is a series of
four numbers, cach in the range 0-255, separated by periods (e.g., 121.56.97.178).
Every computer attached to the Internet computer must be assigned an IP address
so that Internet traffic sent from and directed to that computer may be directed
properly from its source to its destination. Most Internet service providers control
a range of IP addresses. Some computers have static—that is, long-term—IP
addresses, while other computers have dynamic—that is, frequently changed—IP

addresses.

. Internet: The Internet is a global network of computers and other electronic devices

that communicate with each other. Due to the structure of the Internet, connections
between devices on the Internet often cross state and international borders, even
when the devices communicating with each other are in the same state.

Based on my training, experience, and research, I know that the Devices have

capabilities that allow it to serve as a wireless telephone, digital camera, portable media player, —

GPS navigation device, and PDA. In my training and experience, examining data stored on devices

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of this type can uncover, among other things, evidence that reveals or suggests who possessed or
used the device.
V. ELECTRONIC STORAGE AND FORENSIC ANALYSIS

118. Based on my knowledge, training, and experience, I know that electronic devices
can store information for long periods of time. Similarly, things that have been viewed via the
Internet are typically stored for some period of time on the device. This information can sometimes
be recovered with forensics tools.

119. There is probable cause to believe that things that were once stored on the Devices
may still be stored there, for at least the following reasons:

a. Based on my knowledge, training, and experience, I know that computer files or
remnants of such files can be recovered months or even years after they have been
downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic
files downloaded to a storage medium can be stored for years at little or no cost.
Even when files have been deleted, they can be recovered months or years later
using forensic tools. This is so because when a person “deletes” a file on a
compnter, the data contained in the file does not actually disappear; rather, that data
remains on the storage medium until it is overwritten by new data.

b. Therefore, deleted files, or remnants of deleted files, may reside in free space or
slack space—that is, in space on the storage medium that is not currently being used
by an active file—for long periods of time before they are overwritten. In addition,
a computer’s operating system may also keep a record of deleted data in a “swap”

or “recovery” file.

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120.

Wholly apart from user-generated files, computer storage media—in particular,
computers’ internal hard drives—contain electronic evidence of how a computer
has been used, what it has been used for, and who has used it. To give a few
examples, this forensic evidence can take the form of operating system
configurations, artifacts from operating system or application operation, file system
data structures, and virtual memory “swap” or paging files, Computer users
typically do not erase or delete this evidence, because special software is typically
required for that task. However, it is technically possible to delete this information.
Similarly, files that have been viewed via the Internet are sometimes automatically
downloaded into a temporary Internet directory or “cache.”

Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct evidence

of the crimes described on the warrant, but also forensic evidence that establishes how the Devices

was used, the purpose of its use, who used it, and when. There is probable cause to believe that

this forensic electronic evidence might be on the Devices because:

a. Data on the storage medium can provide evidence of a file that was once on the

storage medium but has since been deleted or edited, or of a deleted portion of a
file (such as a paragraph that has been deleted from a word processing file). Virtual
memory paging systems can leave traces of information on the storage medium that
show what tasks and processes were recently active. Web browsers, e-mail
programs, and chat programs store configuration information on the storage
medium that can reveal information such as online nicknames and passwords.

Operating systems can record additional information, such as the attachment of

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peripherals, the attachment of USB flash storage devices or other external storage
media, and the times the computer was in use. Computer file systems can record
information about the dates files were created and the sequence in which they were
created.

b. Forensic evidence on a device can also indicate who has used or controlled the
device. This “user attrihution” evidence is analogous to the search for “indicia of
occupancy” while executing a search warrant at a residence.

c. A person with appropriate familiarity with how an electronic device works may,
after examining this forensic evidence in its proper context, be able to draw
conclusions about how electronic devices were used, the purpose of their use, who
used them, and when.

d. The process of identifying the exact electronically stored information on a storage
medium that are necessary to draw an accurate conclusion is a dynamic process.
Electronic evidence is not always data that can be merely reviewed by a review
team and passed along to investigators. Whether data stored on a computer is
evidence may depend on other information stored on the computer and the
application of knowledge about how a computer behaves. Therefore, contextual
information necessary to understand other evidence also falls within the scope of
the warrant.

e. Further, in finding evidence of how a device was used, the purpose of its use, who
used it, and when, sometimes it is necessary to establish that a particular thing is

not present on a storage medium.

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121. Nature of examination.’ Based on the foregoing, and consistent with Rule
41(e)(2)(B), the warrant I am applying for would permit the examination of the device consistent
with the warrant. The examination may require authorities to employ techniques, including but
not limited to computer-assisted scans of the entire medium, that might expose many parts of the
device to human inspection in order to determine whether it is evidence described by the warrant.

122. Manner of execution. Because this warrant seeks only permission to examine
devices already in law enforcement’s possession, the execution of this warrant does not involve
the physical intrusion onto a premises. Consequently, I submit there is reasonable cause for the
Court to authorize execution of the warrant at any time in the day or night.

VI. CONCLUSION
123. I submit that this affidavit supports probable cause for a search warrant authorizing

the examination of the Devices described in Attachment A to seek the items described in

Attachment B.

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ATTACHMENT A

The property to be searched is as follows:

(a)1.
(a)2.
(a)3.

(a}4.

(b)1.

(b)2.

(b)3.

(b)4.
(b)5.

(b)6.

(c)1.
(c)2.
(c)3.
(c)4.
(c)5.
(c)6.
(c)7.

Apple iPhone Model number A1387.

Alcatel Flip Cellular phone.

Apple iPhone model A1687.

HP Pavilion Laptop.

Samsung Galaxy S8 Smartphone.

HP laptop with thumb drive inserted into laptop.

Amazon Kindle tablet.

Samsung Galaxy S5 smartphone.

ZTE smartphone.

Dell computer tower.

Black Apple iPhone with black rubber "tech21" case. Unknown model number.
Silver Apple MacBook Pro laptop, Model #: A1211.

Black Dell "Inspiron 15" laptop computer, S/N: GK6P832.

Silver Apple 16GB iPad with gray case, S/N: DMPJMNDSDKPH.
Black 8GB tablet, unknown make or model.

Silver Apple iPad with cracked front steam: S/N: FOFN80XSFCM8.

Silver Samsung 16 GB cellphone, Model #: SM-J327T1, SW:

J327T1IUVULAQK6, IMEI: 354256/09/103958/6.

(c)8.

Silver Samsung 16 GB cellphone, Model #: SM-J327T1, SW:

— J327T1UVU1AQK6, IMEI: 354256/09/194390/2.

(c)9.

Silver iPhone with cracked screen, Model #: A1533, IMEI: 013983003 140300.

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(c)10. Silver iPhone S with cracked screen, Model #: A1688, IC: 579C-E2946A.

(c)11. Black iPod, 8GB, S/N: 9CO20RPV75J.

(c)12. Silver iPod, S/N: CCQNP3J1G22Y.

(d)1.
(d)2.
(e)1.
(e)2.
(e)3.

Samsung Chrome Notebook, black, S/N: 0Q9L91HJ400907Y.

Motorola androidone cellular telephone, silver, S/N: ZY224KQN3F.
Buffalo brand 1.0 TB High-Speed Portable Storage, S/N: 80223244903364.
Silver thumb drive in black leather “FL STUDIO” case, No S/N.

Acer Aspire E5-575 Series laptop computer, S/N:

NXGLBAA0017062635 17600.

(e)4.

Samsung cellular telephone, silver, Model: SM-J327P, DEC:

089162138406821714, HEX: 3551008681752

(e)5.

Samsung cellular telephone, black, Model: SM-S337TL (GP), S/N:

R28K50AALNH

Devices (a)1 — 4, (b)1 — 6, (c)1 — 12, (d)1 — 2, (e)1 — 5 and (f)1 — 2, collectively the

“Devices,” are currently located at 633 W. Wisconsin Avenue, Suite 803, Milwaukee,

Wisconsin, 53203.

This warrant authorizes the forensic examination of the Devices for the purpose of

identifying the electronically stored information described in Attachment B.

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ATTACHMENT B
r. All records on the Devices described in Attachment A that relate to violations of
21 U.S.C. §§ 841(a)(1) and 846; and Title 18, U.S.C. § 1956(h) including, but not limited to:
a. lists of customers and related identifying information;
b. types, amounts, and prices of drugs trafficked as well as dates, places, and
amounts of specific transactions;
c. any information related to sources of drugs (including names, addresses, phone
numbers, or any other identifying information);
d. any information recording schedules or travel;
e. all bank records, checks, credit card bills, account information, and other financial
records.
f. Photographs and/or video depicting possession of drugs; and
ae Evidence of user attribution showing who used or owned the Devices at the time
the things described in this warrant were created, edited, or deleted, such as logs, phonebooks,
saved usernames and passwords, documents, and browsing history; |
As used above, the terms “records” and “information” include all of the foregoing items
of evidence in whatever form and by whatever means they may have been created or stored,
including any form of computer or electronic storage (such as flash memory or other media that

can store data) and any photographic form.

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